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BRANDON JOE WILLIAMS®

                         UNITED STATES DISTRICT COURT

                 FOR THE CENTRAL DISTRICT OF CALIFORNIA


 BRANDON JOE WILLIAMS®,                     No. 2:24-cv-09553-RGK-SK

            Plaintiff,                      PLAINTIFF’S REPLY IN SUPPORT OF
                                            MOTION FOR VOID ORDER FOR
                   v.
                                            THE ORIGINAL REMANDING FROM
 UNITED STATES SMALL BUSINESS               STATE TO FEDERAL COURT AS
 ADMINISTRATION,                            WELL AS THE JUDGEMENT FROM
                                            12/30/24 [DCKT #32]
            Defendant.
                                            Scheduling Conference
                                            Hearing Date:​ March 3, 2025
                                            Hearing Time:​ 9:00 a.m.
                                            Ctrm:​          850

                                            Honorable R. Gary Klausner
                                            United States District Judge




  PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR VOID ORDER FOR
   THE ORIGINAL REMANDING FROM STATE TO FEDERAL COURT AS
        WELL AS THE JUDGEMENT FROM 12/30/24 [DCKT #32]

    Response points to the response in opp filed by the defense [DOCKET #34]:

  1.​ Above and beyond the continued confusion the defense attorneys have as to
      whether they are advocates or witnesses for their clients, as well as who their
      client actually is, they have again attempted to label the plaintiff’s motion as a
      motion for reconsideration. If this continues, there will be a motion for sanctions
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      filed regarding this. The previous motion is what it is, not something of which it
      was not labeled to be.
  2.​ On page 2, it is said: “Plaintiff fails to state any circumstance that allows for
      the Court to grant the Second Motion for Reconsideration, pursuant to Local
      Rule 7-18”
      Rebuttal: This is irrelevant due to the fact that this was not a motion for
      reconsideration. Just as the defense has been endlessly confused as to whether they
      are an advocate or witness for their client, I’m beginning to wonder if they are also
      confused as to which cases they are working.
  3.​ On page 2, it is said: “Plaintiff’s Second Motion for Reconsideration does not
      include any new material facts or a change of law occurring after the
      December 30th Order was entered”
      Rebuttal: The definition of “State court” from 28 USC 1442(d)(6) is a MASSIVE
      “new material fact” of this case. In fact, it’s the most important fact found in this
      current case besides the ONLY piece of evidence currently available for this case
      which would be the affidavit from dockets #24-1 and 27-1.
  4.​ On page 4, it is said: “On January 6, 2025, Plaintiff filed “objections” which is
      are equivalent to a motion for reconsideration.”
      Rebuttal: This is untrue and has been addressed multiple times. There will be a
      motion for sanctions if this continues.
  5.​ On page 4 there is a section entitled “III. RECONSIDERATION LEGAL
      STANDARDS.” While this section is irrelevant in its entirety due to this not
      being a reconsideration, I would like to respond to one section by answering each
      of the individual points. I will place the points in bold then the rebut below it:

     Under Rule 60(b), a court may relieve a party from a final judgment, order or
     proceeding only in the following circumstances:

     (1) mistake, inadvertence, surprise, or excusable neglect;
     The original removal was a mistake and was done out of neglect due to the
     defense knowing better that “State court” did not include State of California and
     that State of California is not under the exclusive jurisdiction of the national
     government in accordance with Caha v. U.S., 152 U.S. 211 (U.S. Supreme Court -
     1894). This case (Caha) was not argued against by the defense in their response in
     opposition.

     (2) newly discovered evidence;
     In accordance with the rules of evidence 402, 602 and 603, the affidavits found on
     docket items #24-1 and 27-1 are hereby “newly discovered evidence.”

     (3) fraud;
     The original removal was fraud due to the defense knowing better that “State
     court” did not include State of California and that State of California is not under
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     the exclusive jurisdiction of the national government in accordance with Caha v.
     U.S., 152 U.S. 211 (U.S. Supreme Court - 1894). This case (Caha) was not argued
     against by the defense in their response in opposition.

     (4) the judgment is void;
     The judgement is void due to this most honorable court not being legally able to
     establish any sort of jurisdiction over the case due to it not being able to exercise
     State of California in the District of Columbia in accordance with 4 USC 72. Also,
     due to the limited jurisdictional abilities of this court, this court is unable to
     adjudicate State causes of action from the 48 sovereign nations of our republic
     (from my research, Hawaii and Alaska would also not be sovereign like the other
     48 States are).

     (5) the judgment has been satisfied; or
     This point does not appear at this time to be relevant.

     (6) any other reason justifying relief from the judgment
     This point does not appear at this time to be relevant.

  6.​ On page 5, it is said: “Plaintiff cannot show good cause of why this Court
      should consider this untimely motion. Plaintiff has already filed two separate
      motions for reconsideration within the applicable timeline. Regardless of the
      substance of the Second Motion for reconsideration, Plaintiff’s “state court”
      arguments could have been included in his prior filings, but they were not.”
      Rebuttal: The information about the definition of a “State court” could be
      considered fraud. I should not have to “argue” about something as basic as where
      the exclusive jurisdiction of the national government is. This should be considered
      bad faith and should be on a level where sanctions should be looked at to handle
      this situation. This entire case is a complete waste of this court’s time.
  7.​ On page 5, it is said: “Regardless of the substance of the Second Motion for
      Reconsideration, Plaintiff’s “state court” arguments could have been
      included in his prior filings, but they were not”
      Rebuttal: They were included in a prior filing - on page 6 of docket #31 under
      point number 10. It was just such a huge realization that I wanted to turn it into a
      motion and make it the primary aspect to justify remanding the case.
  8.​ Starting on page 5, moving into page 7, there is a section entitled “V.
      PLAINTIFF IS NOT ENTITLED TO RECONSIDERATION”
      Rebuttal: Both the plaintiff and his agent are terribly relieved to hear that
      something they have never asked for is not entitled to them. This is like being told
      we are not entitled to a “1986 Buick Regal” when we never wanted, asked for,
      desired or secretly wanted one. I’m so terribly glad that something that was never
      asked for is not something we are entitled to get.
  9.​ On page 6, it is said: “The Second Motion for Reconsideration does not explain
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     any fact or law that was not previously known to Plaintiff when he filed his
     Motion for Remand”
     Rebuttal: This is actually untrue. This situation involving the fraud associated with
     the term “State court” in 28 USC 1442(d)(6) was not something the plaintiff’s
     agent was aware of until he wrote docket item #31 (Plaintiff’s Response in
     support of Plaintiff’s Motion and In Opposition to Defendant’s: “UNITED
     STATES SMALL BUSINESS ADMINISTRATION’S OPPOSITION TO
     PLAINTIFF’S ‘MOTION FOR RECONSIDERATION’” [DKT. 29]). You can see
     some of this written on page 6 under the rebuttal of point #10 on the document
     itself. This was such an incredible revelation of fraud that it was deserving of a
     motion in itself. Also, this was not a motion for reconsideration (obviously). The
     defense is still delusional as to who their client is.
  10.​ On page 6, moving into page 7, it is said: “Lastly, the plain text of §1442
     demonstrates that the removal from Los Angeles Superior Court was proper.
     When a “statute's language is plain, ‘the sole function of the courts is to
     enforce it according to its terms.’” United States v. Ron Pair Enterprises, Inc.,
     489 U.S. 235, 241 (1989). First, to interpret a statute “…is to determine
     whether the language at issue has a plain and unambiguous meaning with
     regard to the particular dispute in the case. The Court’s inquiry ceases if the
     statutory language is unambiguous and the statutory scheme is coherent and
     consistent.”Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997) (internal
     quotation marks and citations omitted)”
     Rebuttal: This is a pathetic attempt to make it appear as though the definition in 28
     USC 1442(d)(6) needs to be “interpreted.” Let’s review the definition of
     “interpret” from Black’s Law:

     INTERPRET. To construe; to seek out the meaning of language; to translate
     orally from one tongue to another.

     So it appears as though the defense is doing one of two things:
        1.​ Assuming that a definition is not clear or complete by the writers of it, thus
            attempting to invalidate the ability of our lawmakers to do something as
            simple as write a definition, or;
        2.​ The defense is admitting they do not have the intelligence required to
            understand the simple language that is contained in 28 USC 1442(d)(6).

     Either of the two above choices are irrelevant and waste this court’s time. The U.S.
     Supreme Court has already “interpreted” all of this for us in Caha v. U.S., 152
     U.S. 211 (U.S. Supreme Court - 1894).
  11.​ On page 7, it is said: “See Judicial Branch of California - Superior Courts,
     https://courts.ca.gov/courts/superior-courts(last visited Feb. 10, 2025); see
     also website of the Los Angeles Superior Court, https://www.lacourt.org/(last
     visited Feb. 10, 2025). The plain meaning inquiry ends with the Superior
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      Court for the County of Los Angeles is a state court within the meaning of
      federal agency removal statute.”
      Rebuttal: So let me get this straight… we have 4 total admitted attorneys-at-law:
      JOSEPH T. MCNALLY, DAVID M. HARRIS, JOANNE S. OSINOFF and
      ALEXANDER L. FARRELL all huddled around a computer screen to pull
      definitions off of a WEBSITE in order to try to justify arguments against a
      definition straight from the exact original section they used to remove this case
      plus a US Supreme Court case (Caha v. U.S., 152 U.S. 211 (U.S. Supreme Court -
      1894). While my first reaction was to laugh hysterically over this… after I
      composed myself, I came to the realization of how unbelievably sad this is. This is
      sanctionable behavior under Fed Rule of Civil Procedure 11(b)(2) and 11(b)(4).
      Complaints to the DOJ Inspector General, the Office of Professional
      Responsibility and the BAR regarding this have already been filed on 2/17/25
      from this misconduct. MR. MCNALLY and MS. OSINOFF both have extensive
      and impressive accomplishments/experience… why would they place their names
      on such rubbish?

                                        In closing:

MR. MCNALLY was admitted to the California BAR in 2007 and has an extensive and
impressive history in his profession. MS. OSINOFF was admitted to the California BAR
in 1989 and also has an impressive background. Can this court really believe that
lawyers of this caliber don’t know something as basic as to where the exclusive
jurisdiction of the national (Federal) government is? Literally, you can type into Google:
“is State of California within the exclusive territorial jurisdiction of the national
government” and Google’s response is: “No, the State of California is not within the
exclusive territorial jurisdiction of the national government. California has ceded some
of its jurisdiction to the federal government, but it retains other rights.” This is exactly
why the definition is what it is in 28 USC 1442(d)(6).

Am I to sit here and believe that a BRAND NEW PRO SE LITIGANT understands
this while DOJ attorneys with OVER A DECADE OR EVEN DECADES of service to
their professions do not understand this?

How can this court not see this as fraud? They are ON A WEBSITE trying to cite things
to combat a specific statutory definition as well as a U.S. Supreme Court case (Caha).
This is beyond shocking. They used 28 USC 1442(a) on us (plaintiff and agent) and they
don’t even know what it says!

At this point, this case only contains a single piece of evidence in accordance with Rules
of Evidence 402, 602 and 603. This piece of evidence is the affidavit from the plaintiff’s
agent found in dockets #24-1 and 27-1. This piece of evidence has never had any
arguments brought against it. Because of this, both the plaintiff and the defense are both
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in COMPLETE HARMONY over the fact that this case needs to be remanded back to a
foreign jurisdiction called State of California.

This case should have never been accepted by this Court due to the fact that the
originating Court is not within the exclusive jurisdiction of a Federal Court. State of
California is not a court of the District of Columbia, a court of a U.S. Territory or insular
possession and it’s not a tribal court. It is a Court of an entirely foreign and sovereign
land called State of California, as covered in Caha v. U.S., 152 U.S. 211 (U.S. Supreme
Court - 1894).

This definition found in 28 USC 1442(d)(6) also falls under the maxim of “EXPRESSIO
UNIUS EST EXCLUSIO ALTERIUS,” which is defined as:

Expression of one thing is the exclusion of another. Co.Litt. 210a; Burgin v. Forbes,
293 Ky. 456, 169 S.W.2d 321, 325; Newblock v. Bowles, 170 Oki. 487, 40 P.2d 1097,
1100. Mention of one thing implies exclusion of another. Fazio v. Pittsburgh Rys.
Co., 321 Pa. 7, 182 A. 696, 698; Saslaw v. Weiss, 133 Ohio St. 496, 14 N.E.2d 930,
932. When certain persons or things are specified, in a law, contract, or will, an
intention to exclude all others from its operation may be inferred. Little v. Town of
Conway, 171 S.C. 27, 170 S.E. 447, 448. Under this maxim, if statute specifies one
exception to a general rule or assumes to specify the effects of a certain provision,
other exceptions or effects are excluded, People v. One 1941 Ford 8 Stake Truck,
Engine No. 99T370053, License No. P.8410, Cal., 159 P.2d 641, 642.

If this case is not immediately remanded back to State of California and is instead
dismissed in an epic execution of abuse of discretion, I will be going to appeals and I
may also be going to the Court of Federal Claims to seek redress. We’ve wasted enough
time with these childish games. This case was a waste of everyone’s time and should
have been rejected by this court to begin with (with sanctions for fraud).


                      Local Rule 7-3 Meet and Confer Requirement:
Pursuant to Local Rule 7-3, on January 24, 2025, Plaintiff’s agent provided Defendant’s
counsel with a copy of this motion (the historical section and section regarding the term
“includes” were added to the motion prior to filing and was not a part of the motion
when shared with the defense for the original meet and confer, but the core aspect of this
motion was there) and initiated a telephonic meet and confer to discuss the basis for the
motion. Despite these efforts, the parties were unable to reach a resolution regarding
jurisdictional issues as regards to the original removal concerns raised in the motion,
necessitating this filing.


                     Local Rule 11-6.2 Certificate of Compliance:
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The undersigned counsel of record for BRANDON JOE WILLIAMS® certifies that this
memorandum contains 2,606 words and is 7 pages which complies with the word limit
set by L.R. 11-6.1 and the page limit set by the Court’s Standing Order [Dkt. 6]



Dated: February 19, 2025         Respectfully submitted,

                                 BRANDON JOE WILLIAMS®
                                 By: /s/ Brandon Joe Williams, agent
